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                             THE UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

                                CASE NO.: 8:08-cv-1074-T-26EAJ

SONYA HUISMAN, as Personal
Representative of the Estate of STEVEN
HUISMAN, deceased,

                Plaintiff,

vs.

PRATT & WHITNEY CANADA, a United
Technologies Co., a foreign corporation;
HONEYWELL INTERNATIONAL, INC., a
foreign corporation; WOODWARD
GOVERNOR CO., a foreign corporation;
RAYTHEON AIRCRAFT CORPORATION,
n/k/a HAWKER BEECHCRAFT
CORPORATION, a foreign corporation;
DYNAMIC AVIATION GROUP, INC., a
foreign corporation; DYNAMIC AVLEASE,
INC., a foreign corporation; DYNAMIC AIR,
a foreign corporation; K & K AIRCRAFT,
INC., a foreign corporation; HARTZELL
PROPELLER INC., a foreign corporation; and
THE UNITED STATES OF AMERICA,

                Defendants.
                                                   /

  DEFENDANT, HAWKER BEECHCRAFT CORPORATION’S MOTION IN LIMINE
   AND MEMORANDUM OF LAW TO EXCLUDE EVIDENCE OF SDRs, OTHER
               ACCIDENTS, AND SERVICE PUBLICATIONS

        Defendant, HAWKER BEECHCRAFT CORPORATION (“HBC”), by and through its

undersigned counsel, requests this Court to grant its Motion in Limine to exclude the following

evidence that it anticipates Plaintiff will attempt to admit at trial:

        1.      Service Difficulty Reports.       At the deposition of Plaintiff‟s Expert Donald

Sommer on April 2, 2010, he produced hundreds of Service Difficulty Reports (“SDRs”) as
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Exhibit 41. As explained in detail below, these reports are filled out anonymously by various

members of the aviation community regarding a variety of aviation related problems. The

Federal Aviation Administration (“FAA”) does not verify any of the information contained

within these reports and they do not represent the FAA‟s findings or conclusions on the existence

of a cause or a problem. Even if it were possible to verify the information contained within the

SDRs, the Plaintiff still cannot establish that such evidence is substantially similar to the accident

and defect as issue so as to be relevant under Federal Rule of Evidence 401. In fact, Donald

Sommer admitted in deposition that he cannot confirm that any of the SDRs involve a corrosion

bridge, as alleged in this case. Finally, the Court should exclude the SDRs pursuant to Federal

Rule of Evidence 403, because any probative value the SDRs may have, if any, would be

substantially outweighed by the danger of unfair prejudice.

       2.      Other Accidents, Incidents, Litigation, Verdicts, Warranty Claims, and Claims of

Other Defects. It is anticipated that Plaintiff will attempt to admit evidence of other accidents,

incidents, litigation, verdicts, warranty claims, and claims of other defects. Like the SDRs,

Plaintiff has not established that such evidence is substantially similar and relevant under Federal

Rule of Evidence 401. Furthermore, whatever probative value the evidence has, if any, would be

substantially outweighed by the danger of unfair prejudice under Federal Rule of Evidence 403.

       3.      Service Instructions, Publications, and Bulletins, FAA Advisory Circulars, FAA

Special Airworthiness Information Bulletins, and Other Service Related Communications.

Plaintiff‟s expert Donald Sommer testified that he relied on various service publications, several

of which are “relevant to other airplanes.” Plaintiff should not be permitted to admit evidence

of these service publications because they are not substantially similar to the accident at issue

and any probative value is outweighed by the danger of unfair prejudice.




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I.     BACKGROUND

       This action arises out of an aircraft accident that occurred on June 12, 2006, in Tampa,

Florida, involving a surplus military U-21, Beech model 65-890-1 airplane, serial number LM-

37, registration number N7043G. The subject aircraft was manufactured by Beech Aircraft

Corporation, now known as HBC, and was delivered to its first purchaser July 28, 1967.

Plaintiff alleges liability based upon design and manufacturing defects. Plaintiff contends that an

inadvertent activation of the Secondary Low Pitch Stop (SLPS) system in the subject aircraft‟s

right engine caused the accident. Plaintiff‟s claim is not, however, that the SLPS system failure

actually caused the aircraft to leave controlled flight. Instead, Plaintiff asserts that the SLPS

system malfunctioned due to an electrical short, which was allegedly caused by a corrosion

bridge that linked pins 8 and 9 in the SLPS circuit board. This corrosion bridge caused a

warning light to illuminate on the dashboard and the right propeller to feather. Plaintiff claims

that the pilot, the decedent, was unable to remedy the situation, and his ongoing attempts to

determine the source of the problem prevented him from handling the landing appropriately,

resulting in the subject crash.

II.    MEMORANDUM OF LAW

       A. Plaintiff’s SDRs Should Be Excluded Because They are Incomplete, Unverified
          Documents

       The FAA has a Service Difficulty Reporting System (“System”) through which it collects

reports from the field of possible aviation related problems. These reports, known as SDRs, are

not findings or conclusions by the FAA on the existence or cause of a problem. Instead, they are




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filled out voluntarily and anonymously1 by various members of the aviation community and

submitted to the FAA electronically or by hard copy. The entities that submit these reports

include owners, operators, and repair stations. Manufacturers are not included in this process.

While the FAA receives approximately 45,000 submissions per year, most of the reports are only

partially completed, and contain vague descriptions about the reported problem. Furthermore,

the FAA does not verify any of the information submitted to the SDR database for accuracy.

Trump Taj Mahal, Associates v. NTSB, 1989 WL 130216, *10 (E.D. Pa. Oct. 31, 1989). As a

result, courts have excluded SDRs at trial because they are unverifiable, irrelevant, and cause

unfair prejudice and confusion of the issues.

        As evidenced by many of the SDRs Plaintiff produced during discovery, the data fields in

these reports are only partially completed, and they generally lack even the most basic of

information. Typical descriptions, if any, are comprised of vague, fragmented sentences, which

offer little insight about the reported malfunction.

        Examples from the SDRs Plaintiff produced demonstrate this point. The following figure

shows SDR entries that Plaintiff‟s expert Donald Sommer produced at his April 2, 2010

deposition:



                     BEECH 1900C               F.O.D.              NONE                 UC89           N89UE
PROP BLADE
DAMAGED              HARTZL HCB4M                                                       FW812           2717
RT ENGINE                                      LANDING                                                  0
6111 - PROPELLER BLADE SECTION                 94ZZZX6104          1994101400882        08/30/94
                                               CARRIER              GLBA - GREAT LAKES AVIATION LTD
ONE BLADE DESTROYED DURING LANDING WHEN THE AIRCRAFT STRUCK A DEER ON THE RUNWAY. NO OTHER DAMAGE TO
THE AIRCRAFT WAS NOTED. REPLACED THE PROPELLER. VISUAL INSPECTION OF THE ENGINE WAS COMPLIED WITH.




        1
          Once the SDRs are accepted into the data base, all information identifying the submitter
is deleted.



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                      BEECH 1900D                OTHER                 NONE                  UE52         N847CA
PROPELLER
ADHESION FAILURE       HARTZL HCE4A3A                                                        HJ56A            0
LT ENGINE                                        INSP/MAINT                                                1851
6111 - PROPELLER BLADE SECTION                   97777)(3960           1997091100894        08/27/97
                                              CARRIER                  JJBA - CHAMPLAIN ENTERPRISES INC
NICKEL LEADING EDGE DELAMINATION. REPLACED PROPELLER.




                      BEECH 99                   FALSE WARNING        RETURN TO BLOCK       U99           N217BH
LOW PITCH LIGHT
CAME ON                                                                                                   25739
R/H                                              TAXI/GRND HDL                                            25739
6140 - PROPELLER INDICATING SYSTEM               NE658783512          1987080600015        05/20/87
                                                CARRIER               BHAA - BAR HARBOR AIRWAYS INC
CREW REPORTED RT PROP LOW PITCH LIGHT ILLUMINATED DURING TAXI FROM GATE AND STAYED ILLUMINATED. BGR
MAINT PERFORMED LOW PITCH TEST AND FOUND WITHIN LIMITS. INSPECTED WIRING AND PICKUP. NO DEFECTS
NOTED.




                      BEECH 6590                 OTHER                 NONE                               N
SEAL RING             PWA PT6A20
DISPLACED             HARTZL HCB3T/                                                                           6
RESET SOLENOID        WOODWARD A210507R          INSP/MAINT                                 1289700           6
6120 - PROPELLER CONTROLLING SYSTEM                                   1976040100114
                                                 REPAIR STATION

SEAL RING TYPE MATERIAL CAUGHT IN VALVE AND HELD IT OPEN




        Several of these entries, such as the one involving a deer strike on the runway, are

patently irrelevant to the case at issue. Even when the accounts‟ cryptic notations hint at issues

with the propeller controlling system, they fail to provide any information about the make and

model of the system, the age or service history of the aircraft, or any information about the

nature of the condition or the cause of the incident. In fact, by and large, the reports do not even

indicate if the problem was related to maintenance, pilot error, misuse, or the product itself. It is

impossible to verify whether the described events occurred at all, especially when considering

that these submissions are made anonymously. Further, the SDRs are too remote in time. The

most recent one that lists a date is from 1997.


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       Due to the lack of uniformity, absence of verification, and often incomplete reporting

contained in SDRs, the FAA itself recognizes the limitations on using the data contained in these

reports. In fact, the FAA specifically warns users of the SDR system that: “[T]his report derives

from unverified information submitted by the aviation community without FAA review for

accuracy.” See e.g. portion of February 2010 Publication of SDRs, attached hereto as Exhibit

“1”.   Considering the FAA‟s warning to users of the SDR system in general, Plaintiff should

not be able to present such unverified, incomplete reports to a jury at trial.

       Like the FAA, courts have also found that SDRs contain “unverified information

submitted by the aviation community without FAA review for accuracy.” Trump Taj Mahal,

1989 WL 130216 at *3 (finding that the “record is unclear on whether the cracks were identical

to the crack in the helicopter in this case”).        In Richardson v. Bombardier, Inc., 2005 WL

3087864, *11 (M.D. Fla. November 16, 2005), a product liability case based on Florida

substantive law, the plaintiffs sought to introduce SDRs to support their claim arising from an

aviation accident. According to plaintiffs, the accident was caused by a defective APS-65 servo

mount, which was a component part installed on the accident aircraft‟s autopilot. Plaintiffs

sought to introduce SDRs “reflecting earlier problems with the APS-65 servo mount.” Id. at *11.

The defendants moved to exclude all SDRs from trial on the basis that they were unreliable,

unverifiable, and irrelevant because they were not substantially similar to the accident at issue.

The court agreed and granted defendants‟ motion and excluded all SDRs from the trial. Id.

       In our case, the exact same circumstances are present. Plaintiff seeks to introduce SDRs

that are lacking in detail and verification. In fact, the SDRs Plaintiff produced were not even

obtained from the FAA directly, but rather from a private company. (Dep. of Donald Sommer,

Vol. II, at 167:12-17, cited portions attached as Exhibit “2”. Donald Sommer‟s full deposition




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transcript is filed under Docket Entry 127-1 and 127-2.) Whatever information they do contain

cannot be verified and cannot reasonably support a basis for substantial similarity to the accident

and defect at issue. Since SDRs are simply short, superficial, often cryptic notations from

unidentified people in the field of a possible aviation related problem, they would offer no

probative value at trial, would be unduly prejudicial, and should be excluded.

       B. Plaintiff’s Evidence is not Substantially Similar and Should be Excluded

       Even if it was possible to verify the information contained within the SDRs, Plaintiff still

has the burden to prove that each SDR she seeks to introduce is substantially similar to the

accident and alleged defect at issue for the SDR to be relevant. See Federal Rule of Evidence 401

(defining relevant evidence as that which has “any tendency to make the existence of any fact

that is of consequence to the determination of the action more probable or less probable than it

would be without the evidence.”); See also Borden, Inc. v. Florida East Coast Ry. Co., 772 F. 2d

750, 754 (11th Cir. 1985) (holding that before evidence of other accidents or incidents is

admitted, the proponent must show that such evidence occurred under substantially similar

circumstances). Likewise, Plaintiff also has the burden to establish that evidence of: (1) other

accidents, incidents, litigation, verdicts, warranty claims, and claims of other defect and (2)

service instructions, publications, bulletins, FAA Advisory Circulars, SAIBs and other service

related communications, are substantially similar to the defect claim and accident at issue.    Id.

Since the below argument applies to all three categories of evidence, for the remainder of this

Motion, HBC will refer to the SDRs, evidence of other claims, and evidence of service

communications as “other claims” collectively.




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       1. Plaintiff Cannot Establish that the Evidence is Substantially Similar to the
          Alleged Defect and Accident Circumstance at Issue


       Under Florida substantive law, HBC can only be found liable if the Plaintiff proves that

the specific alleged defect in the SLPS box is the proximate cause of the accident in this case.

The defect at issue is whether: (1) the SLPS system on the (2) surplus military U-21, Beech

model 65-890-1 airplane (3) malfunctioned due to an electrical short, which was allegedly

caused by a corrosion bridge that linked pins 8 and 9 in the SLPS circuit board that (4) caused a

warning light to illuminate on the dashboard and the right propeller to feather. Plaintiff has not

alleged that any other defect is responsible for the accident. Therefore, any evidence of other

claims not specifically alleged by Plaintiff to be the proximate cause of the accident in this case

is not “substantially similar” and irrelevant under Federal Rule of Evidence 401.

       Courts in the Eleventh Circuit may admit evidence of similar accidents or incidents to

show the defendant had notice of a defect, the ability to correct a defect, the danger of a defect,

and causation. Jones v. Otis Elevator Co., 861 F.2d 655, 661 (11th Cir. 1988). However, courts

also recognize the potential prejudicial impact of admitting such evidence. Id. As a result, the

proponent of the evidence must first establish that: (1) conditions substantially similar to the

occurrence in question must have caused the other accident, and (2) the prior accident must not

have occurred too remote in time. Id. at 661-662.

       The proponent of the evidence must establish substantial similarity prior to its admission

outside the presence of the jury. See Nachtsheim v. Beech Aircraft Corp. 847 F.2d 1261,

1268 (7th Cir 1988). Additionally, the proponent must establish the specific facts of the other

accidents so the court may make a reasoned determination as to whether they are substantially

similar. Baker v. Deere and Co., 60 F.3d 158, 161 (3d Cir. 1995). Absent such a foundation, it




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is impossible for a court to make a determination of similarity. Hardy v. Chemetron Corp., 870

F.2d 1007 (5th Cir. 1989). Evidence of other accidents admitted in error is grounds for reversal.

Baker, 60 F.3d at 164.

       Mere similarity is not enough; the adjective “substantial” must be given due

consideration. Nachtsheim v. Beech Aircraft Corp. 847 F.2d 1261 (7th Cir 1988). For example,

evidence of prior accidents will not be admissible if they involve different product models which

contain differing design features. Lewy v. Remington Arms Co., 836 F.2d 1104 (8th Cir. 1988).

Even if a prior accident does contain the same product model, the other accident must occur in a

substantially similar way to the accident at issue. Nesbit v. Sears Roebuck & Co., 415 F. Supp.

2d 530, 535, (E.D. Pa. 2005). Additionally, accidents involving the same product and similar

accident circumstances are inadmissible if they are too remote in time. Hicks v. Six Flag Over

Mid-America, 821 F.2d 1311 (8th Cir. 1987) (evidence of factually similar accident occurring six

years prior to accident was deemed too remote in time and excluded).

       In Wilson v. Bicycle South Inc., 915 F.2d 1503 (11th Cir. 1990), the Eleventh Circuit

affirmed the district court‟s exclusion of “similar accident” evidence. The plaintiff in Wilson

suffered head injuries when she fell from a bicycle and filed suit against the bicycle

manufacturer, alleging that the rear wheel collapsed as a result of improper manufacturing. The

plaintiff sought to introduce evidence of other accidents to show notice to the defendant

manufacturer, the defendant‟s ability to correct a known defect, the lack of safety for intended

purposes, the strength of the product, the standard of care, and causation. The trial judge denied

the proffer on grounds that the plaintiff failed to provide the “considerable amount of extrinsic

evidence [necessary] to determine whether the incidents were sufficiently similar.” Id. at 1510




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(emphasis added). The appellate court affirmed, reasoning that the district judge did not abuse

his discretion in excluding the evidence. Id.

       Additionally, courts are particularly careful in ensuring that the movant provides proof of

substantial similarity when seeking to admit a database of accidents/complaints/reports, such as

the Plaintiff is attempting to do here. As the Texas Supreme Court observed:

       To sum up, product defects must be proved; they cannot simply be inferred from a
       large number of complaints. If the rule were otherwise, product claims would
       become a self-fulfilling prophecy-the more that are made, the more likely all
       must be true.

Nissan Motor Co. Ltd. v. Armstrong, 145 S.W.3d 131, 142 (Tex. 2004) (emphasis added). See

also Ford Motor Co., 971 So. 2d 854, 858 (Fla. 3d DCA 2007) (reversing a plaintiff‟s verdict in

a rollover accident case because the trial court “allowed testimony and comment to the effect that

Ford caused „hundreds‟ of injuries and deaths in other rollover accidents involving the Ford

Explorer without requiring plaintiff to establish a substantial similarity between those accidents

and the one involving plaintiff”).

       Plaintiff cannot meet her burden of establishing that the other claims are substantially

similar to the accident and circumstances at issue. In fact, Plaintiff‟s own expert, Donald

Sommer, admitted during deposition that many of the SDRs produced are irrelevant to his

opinions. (See Ex. 2, Dep. of Donald Sommer, Vol. II, at 166:8-12.) Sommer also admitted that

not all of the SDRs involve issues with the SLPS light or Plaintiff‟s defect claims:


       Q.      They don‟t all deal with a situation where the secondary low pitch stop light
illuminated during flight, do they?

       A. Correct.

        Q.     And you can‟t tell me from looking at any particular one of these whether or not
the perceived or reported failure mechanism was due to corrosion, can you?



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       A.      Unless it says so. I would have to look at each one individually. There is
indications of corrosion.

       Q.      Unless it specifically says corrosion in here, you don‟t know whether it was or
wasn‟t, right?

        A.     I would have to look at the scenario to see if I could generate an opinion. But
all I know in those SDRs is what the text in the SDR tells me.


…

        Q.   It would be fair to say, wouldn‟t it, sir, you can‟t tell me that any single one of
these SDRs has anything to do with an alleged corrosion bridge between pins 8 and 9, can you?


        A.     I haven’t looked at it with that concept. I can’t tell you whether I could or
not.

        Q.    Well, I have looked through them. I can‟t. When you have a chance to look
through them, you can go farther.

        A.     I will take your testimony to heart.


(Ex. 2, Dep. of Donald Sommer, Vol. II, at 166:13 - 169:6.)

       Sommer further admits that the two service bulletins or service letters that he referenced

do not apply to this model aircraft at issue:

        Q.     Sir, you referenced two relative service bulletins or service letters that you felt
were relevant to this?

         A.    They are relevant to other airplanes. They don’t happen to apply directly to
this airplane, but they give you a great repair (sic) for the improprieties of this system or
the unsafe aspects of this system.


(Ex. 2, Dep. of Donald Sommer, Vol. II, at 169:7-14.)

       Evidence of other claims that “don‟t happen to apply directly to this airplane” is not

substantially similar to the alleged defect and accident in this case. See Lewy v. Remington Arms




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Co., 836 F.2d 1104 (8th Cir. 1988). Such evidence has little to no probative value, is irrelevant,

and should be excluded.2

        C. Evidence Concerning Other Claims Would Be Unfairly Prejudicial and Cause
           Confusion and Undue Delay

         Any evidence regarding other unrelated claims should also be precluded pursuant to

Federal Rule of Evidence 403.        Any potential probative value they may have would be

substantially outweighed by the danger of unfair prejudice, confusion of issues, and misleading

of the jury.

        In Nachtsheim v. Beech Aircraft Corp. 847 F.2d 1261, 1269 (7th Cir 1988), a case

arising from an aviation accident, the plaintiff sought to introduce evidence of other

incidents/defect claims. The defendants moved to exclude such evidence on the basis that the

other defect claims were not substantially similar to the accident at issue. The court granted

defendants‟ motion and explained:

        As the circumstances and conditions of the other accidents become less similar to
        the accident under consideration, the probative force of such evidence decreases.
        At the same time, the danger that the evidence will be unfairly prejudicial
        remains. The jury might infer from evidence of the prior accident alone that
        ultra-hazardous conditions existed ... and were the cause of the later accident
        without those issues ever having been proved.

Id. (internal citation omitted) (emphasis added). The court further explained that even if the

plaintiff could prove substantial similarity, the evidence was still properly excluded:


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           If the Court excludes evidence of other claims, the Plaintiff should not be permitted to
introduce the inadmissible evidence through expert testimony. Nachtsheim. 847 F.2d at 1270.
The court in Nachtsheim addressed this specific issue in the context of aviation crashes. Id. The
plaintiff attempted to introduce excluded evidence of other accidents through the testimony of an
expert witness who had relied on the inadmissible evidence in forming his opinion about
causation. The district court did not permit expert testimony in this regard, and only permitted the
expert to testify that he relied on excluded evidence. The Seventh Circuit affirmed, finding that
Federal Rule of Evidence 703 does not permit experts to testify about inadmissible evidence. Id.




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       In addition, the costs-in terms of time, distraction and, possibly, prejudice-
       resulting from such evidence also may weigh against admissibility. Accordingly,
       even when substantial identity of the circumstances is proven, the
       admissibility of such evidence lies within the discretion of the trial judge who
       must weigh the dangers of unfairness, confusion, and undue expenditure of
       time in the trial of collateral issues against the factors favoring admissibility.

Id. (internal citation omitted) (emphasis added).


       Other courts have employed the same reasoning in determining that evidence of other

accidents and claims, although relevant and probative, were still inadmissible.           See e.g.

Agrofollajes v. E.I. Du Pont de Numours & Co., 2009 WL 4828975, *15 (Fla. 3d DCA Dec. 16,

2009). (“However, even when the probative value of evidence is undisputed, the trial court must

still consider whether its introduction is substantially outweighed by the danger of unfair

prejudice,” explaining, “[t]he plaintiffs were further allowed to enter photos into evidence of the

alleged damage sustained by the non-parties to reinforce their testimony. This evidence

improperly became a feature of the trial and was unfairly prejudicial.”) (internal citations

omitted).

       The courts‟ reasoning and findings in the cases above is also applicable here. Aviation

accidents, by their very nature, involve complex issues and facts that a jury will have to

thoughtfully consider in rendering a verdict. The admission of other claims not alleged to have

proximately caused the accident in this case will very likely confuse the jury, confuse the issues

of the case, and waste valuable time in the “trial of collateral issues,” as it would be incumbent

on HBC to distinguish such evidence admitted at trial. Furthermore, the admission of such

evidence will be unduly prejudicial to HBC, as the jury might improperly infer that any of the

reported defects, which are unverified and unproven, were the cause of the accident here.




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Instead, excluding this evidence will increase the likelihood of a verdict based upon the facts of

this accident, as opposed to some generalized prejudice caused by confusion.

III.    CONCLUSION

       For the reasons set forth above, HBC requests that this Court grant its Motion and enter

 an Order excluding from the trial of this matter any testimony or other evidence, argument, or

 statement concerning any other claims which are dissimilar and are unrelated to the alleged

 defect and accident circumstance in this case.




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IV.    CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that pursuant to Local Rule 3.01(g), counsel for HBC

conferred with counsel for the Plaintiff regarding the relief requested herein, but the parties and

their counsel have been unable to reach a resolution of these matters.




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 2, 2010, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

served this day on all counsel of record or pro se parties identified on the attached Service List in

the manner specified either via transmission of Notices of Electronic Filing generated by

CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

to receive electronically Notices of Electronic Filing.




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                                       SERVICE LIST
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